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               17                                 NORTHERN DISTRICT OF CALIFORNIA
                                                         OAKLAND DIVISION
               18
               19      COALITION ON HOMELESSNESS, et al.,           CASE NO. 4:22-cv-05502-DMR
                                              Plaintiffs.           SECOND SUPPLEMENTAL
               20
                                 v.                                 DECLARATION OF IAN JAMES
               21
                       CITY AND COUNTY OF SAN FRANCISCO,
               22      et. al.,                                     Judge:       The Hon. Donna M. Ryu
               23                            Defendants.

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ATTORNEYS AT LAW
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 SAN FRANCISCO                                                                   CASE NO. 4:22-CV-05502-DMR
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 SAN FRANCISCO                                                                CASE NO. 4:22-CV-05502-DMR
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                   1                  SECOND SUPPLEMENTAL DECLARATION OF IAN JAMES

                   2   I, Ian James, hereby declare pursuant to 28 U.S.C. § 1746:

                   3             1.   I currently serve as the Organizing Director for the Coalition on Homelessness

                   4   (“COH” or “the Coalition”).

                   5             2.   My job is to support human rights organizers as they work in the field, and also to

                   6   ensure that our campaigns are connected and cohesive. Along with this work, I also do outreach

                   7   to unhoused people whenever my schedule allows, which includes attending homelessness

                   8   sweeps and assisting unhoused individuals in filing administrative claims for property taken by

                   9   the City.

               10                3.   I have previously submitted two declarations regarding my observations of the

               11      City’s HSOC encampment resolutions, Dkt. Nos. 9-3 [1-35 – 1-40] and 50-2. I submit this further

               12      supplemental declaration regarding my observations at the HSOC encampment resolution that

               13      took place on December 27, 2022.

               14                4.   All facts set forth in this declaration are based upon my personal knowledge, and,

               15      if called upon to testify as to the truth of these facts, I could and would competently do so.

               16      Observations at HSOC Encampment Resolution December 27, 2022: Taylor and Eddy

               17      Streets

               18                5.   On December 27, 2022, I observed an HSOC encampment resolution scheduled

               19      to take place around Taylor and Eddy Streets at 1:00 PM. I arrived at the location of the sweep at

               20      approximately 12:55 PM.

               21                6.   There were approximately 13 unhoused individuals present at the site. City

               22      employees from SFPD, HOT, DPW, SFFD, SFMTA, and DPH were present during the

               23      resolution. DPW and SFMTA were already present when I arrived; the other City departments

               24      arrived between 1:00 PM and 1:15 PM.

               25                7.   Move along without shelter offer: Around 1:15 PM, City employees began to

               26      approach people at the site. One unhoused individual stated: “Until they have a decent place for

               27      us to live, tell them to leave us alone. They are saying they are going to take all of our stuff and

               28      make us move.”
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                   1             8.    Another individual, named Gary, was not approached by HOT at any point during

                   2   the resolution. He packed up his belongings and left around 2:21 PM without anyone from the

                   3   City having talked to him. When I spoke with Gary before he left, he told me that he was interested

                   4   in shelter and had been looking for shelter for a while but had not been successful. He said the

                   5   City had not offered him any resources prior to or during the sweep. Gary told me that the City

                   6   had given him notice of the resolution before the sweep, so he knew he would have to leave the

                   7   area.

                   8             9.    Empty shelter offers: Of the 13 unhoused individuals present at the site, it appeared

                   9   that only 4 were successfully connected with shelter. The City offered two individuals beds at a

               10      congregate shelter, MSC South. Although those individuals verbally accepted the beds, they did

               11      not have any written confirmation of the offer or any guarantee that a transport would arrive.

               12      Instead, they waited in the cold for a transport to the shelter. Eventually, they gave up and left the

               13      area around 2:15 PM.

               14      Continued Burden on Coalition on Homelessness

               15                10.   For the Coalition, December is supposed to be a month of reflecting and planning

               16      out priorities for the next year. However, monitoring the City’s compliance with both the

               17      Constitution and the Court’s order has delayed this work and made it more difficult to focus on

               18      our other organizational responsibilities. For instance, January 1, 2023, marks the beginning of

               19      our yearly budget campaign, which we have not had time to prepare for because we have been

               20      diverting staff resources to monitor the City’s conduct.

               21                11.   Monitoring sweeps is also emotionally draining, adding an enormous

               22      responsibility to my, the Coalition’s human rights organizers’, and our volunteers’ shoulders to

               23      protect unhoused community members’ rights. It is unsustainable for the Coalition to continue

               24      monitoring the City’s conduct during the pendency of this case.

               25      ///

               26      ///

               27      ///

               28      ///
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ATTORNEYS AT LAW
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 SAN FRANCISCO                                                                                    CASE NO. 4:22-CV-05502-DMR
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                   1   I declare under penalty of perjury that the contents of this declaration are true and correct to the

                   2   best of my knowledge, and that I executed this declaration on January 4, 2023 in San Francisco,

                   3   California.

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                   6                                                         Ian James

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